78 F.3d 591
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Todd Lewis ASHKER, Plaintiff-Appellant,v.Charles D. MARSHALL;  Alex M. Astorga;  H. Rippetoe,Defendants-Appellees.
    No. 95-15770.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 27, 1996.*Decided March 4, 1996.
    
      Before:  PREGERSON, CANBY, and HAWKINS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      We affirm for the reasons stated in the district court's order filed March 28, 1995.
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    